             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:17-cr-00046-MR-DLH-4


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                          ORDER
                                 )
ANTHONY MICHAEL DEALTO,          )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment [Doc. 107].

     Upon review of the Government’s motion,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 107] is GRANTED, and the Bill of Indictment in the above-

captioned case as to this Defendant only is hereby DISMISSED WITH

PREJUDICE.

     The Clerk is directed to provide copies of this Order to counsel for the

Government, the U.S. Marshals Service, and the U.S. Probation Office.

     IT IS SO ORDERED.           Signed: November 3, 2017




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